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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,

                  v.                                     Case No. 1:19-cv-8034

JOSE FELIX VILCHIS ROJAS,
a/k/a Jose F. Vilchis,

                         Defendant.


                                              JUDGMENT

 Pursuant the Court’s ruling on the government’s motion for summary judgment filings entered on

                                        5/5/2021, docket entry 32:

        1.        The Court FINDS and DECLARES that Defendant illegally procured his United

States citizenship;

        2.        The July 1, 1997 order admitting Defendant to United States citizenship is REVOKED

and SET ASIDE;

        3.        Certificate of Naturalization No. 22314082 issued to Defendant is CANCELLED,

effective as of the original date of the certificate, July 1, 1997;

        4.        Defendant is forever RESTRAINED and ENJOINED from claiming or exercising any

rights, privileges, benefits, or advantages of United States citizenship based on his July 1, 1997

naturalization;

        5.        Defendant shall, within ten days of this ORDER, surrender and deliver his Certificate

of Naturalization No. 22314082, any and all U.S. passports, and any other indicia of United States

citizenship, as well as any copies thereof in his possession or control (and shall make good faith efforts
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to recover and then surrender any copies thereof that he knows are in the possession or control of

others) to Counsel for the United States, CHRISTOPHER HOLLIS;

       6.      Defendant shall deliver the items described above (his original Certificate of

Naturalization, original United States passport, any other indicia of United States citizenship, and all

copies thereof) to the United States Attorney General by sending them to the United States Attorney

General’s representative at the following address: Christopher Hollis, United States Department of

Justice, P.O. Box 868, Ben Franklin Station, Washington, DC 20044; and

       7.      If Defendant fails to deliver the items described above, Plaintiff shall inform the Court

so it can determine whether to schedule a compliance hearing, at which Defendant must demonstrate

that he has complied with this Judgment.

       IT IS SO ORDERED.



SIGNED on this 13th day of May, 2021.



                                               _________________________________
                                               SHARON JOHNSON COLEMAN
                                               UNITED STATES DISTRICT JUDGE
